                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               October 29, 2015
                              No. 10-15-00368-CR
                                JEREMIAH TENNON
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 278[th] District Court
                             Walker County, Texas
                            Trial Court No. 26,807
                                       
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JUDGMENT

	This appeal has been considered by the Court.  Because the Court finds that it does not have jurisdiction of the appeal, it is the judgment of this Court that the appeal is dismissed.  
A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
PER CURIAM
SHARRI ROESSLER, CLERK

By: ___________________________
							Nita Whitener, Deputy Clerk
